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        IN THE UNITED STATES DISTRICT COURT FOR THE
               WESTERN DISTRICT OF OKLAHOMA

DAVID BRIAN MORGAN,                       )
MILES ALLEN,                              )
WARREN STEWART,                           )
KAMERON VICKERS,                          )
ERNEST DRAPER,                            )
ROBERT ABUAN,                             )
ERNEST MONCADA,                           )
JONATHON GRAHAM,                          )
STEVEN GLEN CRADDOCK,                     )
CLEVE BILLINGS,                           )
BRIAN CASH,                               )
JAMES SATTERLEE,                          )
ERIC LUCAS,                               )     Case No. CIV-20-494-D
MARK SHEMM, and                           )
GARY SOUTHLAND,                           )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )
                                          )
UNITED STATES OF AMERICA,                 )
et al.,                                   )
                                          )
      Defendants.                         )

                    ORDER TO CURE DEFICIENCIES

      The Court is in receipt of the civil rights complaint Plaintiffs, proceeding

pro se, have tendered in the above referenced matter. Doc. 1. Plaintiffs state

in the complaint that they are all Oklahoma prisoners in the custody of the

Oklahoma Department of Corrections and housed at the Joseph Harp

Correctional Center in Lexington, Oklahoma. See Doc. 1, at 1, 6. They assert,

among other things, that “during the recent COVID-19 pandemic, the State of
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Oklahoma allowed a guard and a nurse to work” at their facility and

authorities did not follow proper quarantine protocol because more than one

prisoner is housed in each cell. See Doc. 1, at 1-2. 1 Although purportedly filed

as a joint action, only one named Plaintiff, David Brian Morgan, signed the

complaint and submitted a “Pauper’s Affidavit.” 2       See Docs. 1, 2. 3   Both

documents are deficient under the Federal Rules of Civil Procedure, this

Court’s Local Rules, and the Prison Litigation Reform Act, 28 U.S.C. § 1915.

Those deficiencies must be cured before this action may proceed.

I.    Multi-plaintiff litigation.

      The Federal Rules of Civil Procedure do not generally prohibit plaintiffs

from jointly bringing their claims in a single lawsuit. See Fed. R. Civ. P.

20(a)(1). That said, “joint litigation does not relieve prisoners of any duties


1   Plaintiffs do not allege that any of them have either tested positive for
COVID-19 or fallen ill during this pandemic.
2     The affidavit is dated August 22, 2019. See Doc. 2.

3     Plaintiffs also seek to file a class action lawsuit on behalf of “25,000
Oklahoma inmates.” See Doc. 1, at 1. Pro se litigants, however, have no
authority to represent anyone other than themselves. See Fymbo v. State Farm
Fire & Cas. Co., 213 F.3d 1320, 1321 (10th Cir. 2000) (“A litigant may bring
his own claims to federal court without counsel, but not the claims of others.
This is so because the competence of a layman is clearly too limited to allow
him to risk the rights of others.” (internal quotation marks and citations
omitted)). The Court will not construe this action at this point as a class action
suit. See Fed. R. Civ. P. 23(a)(4) (court may not certify a class unless it
determines that “the representative parties will fairly and adequately protect
the interests of the class”).


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under the [PLRA].” Boriboune v. Berge, 391 F.3d 852, 854 (7th Cir. 2004).

Thus, the Court must advise the Plaintiffs of the consequences of proceeding

in a joint action and “give them an opportunity to drop out.” See id. at 856

(noting district court “may think it sound to alert prisoners” to the various

pitfalls of joint litigation).

      A.     Each Plaintiff is responsible for payment of the full filing
             fee.

      Each Plaintiff in this action is required to pay a full civil filing fee, just

as if he had individually filed this suit. See 28 U.S.C. § 1915(b)(1) (“[I]f a

prisoner brings a civil action . . ., the prisoner shall be required to pay the full

amount of a filing fee.”). Although the Tenth Circuit Court of Appeals has had

“no occasion to decide whether the PLRA permits multi-plaintiff actions,” it

has required, “at a minimum,” that each plaintiff file a motion for leave to

proceed . . . without prepayment of costs or fees.” Woodruff v. Wyoming, 49 F.

App’x 199, 202 & n.1 (10th Cir. 2002) (citing 28 U.S.C. § 1915); see also Hagan

v. Rogers, 570 F.3d 146, 155 (3d Cir. 2009) (“The plain language of § 1915(b)(1)

can be read in complete harmony with Rule 20 by requiring each joined

prisoner to pay the full individual fee.”); Boriboune, 391 F.3d at 856 (“Section

1915(b)(1) . . . specifies a per-litigant approach to fees.”).




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      None of the Plaintiffs here have either paid the full $400.00 4 filing fee in

accordance with 28 U.S.C. § 1914 and LCvR3.2 or submitted a proper motion

for leave to proceed in forma pauperis in accordance with § 1915(a)(2) and

LCvR3.3. See Pinson v. Whetsel, No. CIV-06-1372-F, 2007 WL 428191, at *1

(W.D. Okla. Feb. 1, 2007) (PLRA “would require each plaintiff to pay the

$350.00 filing fee even if he were to qualify for pauper status.”). This deficiency

must be cured by each Plaintiff either separately paying the filing fee or by

filing a separate motion to proceed in forma pauperis before this action may

proceed.

      Plaintiffs are reminded that they must each submit with their motion

to proceed in forma pauperis “a certified copy of the trust fund account

statement (or institutional equivalent) for the prisoner for the 6-month period

immediately preceding the filing of the complaint . . ., obtained from the

appropriate official of each prison at which the prisoner is or was confined.” 28

U.S.C. § 1915(a)(2).

      The Clerk of Court is directed to send each Plaintiff the necessary IFP

forms to comply with the Court’s Order.




4      The filing fee is $350.00. See § 1914(a). In addition, an administrative
fee of $50.00 must be paid. See Judicial Conf. Sched. of Fees, Dist. Ct. Misc.
Fee Sched. ¶ 14.


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      B.     Each Plaintiff must sign the complaint and every pleading
             filed in the case.

      Federal Rule of Civil Procedure 11(a) requires that “[e]very pleading,

written motion, and other paper must be signed by . . . a party personally if the

party is unrepresented.” Fed. R. Civ. P. 11(a). “The court must strike an

unsigned paper unless the submission is promptly corrected after being called

to the . . . party’s attention.” Id.

      Only one Plaintiff, Mr. Morgan, signed the hand-written complaint filed

in this matter. See Doc. 1, at 6. Under Rule 11(a), each Plaintiff purporting to

join this action must sign the complaint before this action may proceed. See

Boriboune, 391 F.3d at 855 (“Rule 11 requires all unrepresented plaintiffs to

sign the complaint, and the signature conveys all of the representations

specified by Rule 11(b) for the entire complaint.”).

      Plaintiffs are reminded that a

      prisoner litigating on his own behalf takes the risk that one or
      more of his claims may be deemed sanctionable under Fed. R. Civ.
      P. 11, or may count toward the limit of three weak [in] forma
      pauperis claims allowed by [28 U.S.C.] § 1915(g). A prisoner
      litigating jointly under Rule 20 takes those risks for all
      claims in the complaint, whether or not they concern him
      personally.

Id. (emphasis added). That means that if this joint action is dismissed because

it is deemed frivolous or malicious or the Court finds it fails to state a claim

upon which relief may be granted, each Plaintiff would be assessed a strike


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under § 1915(g). 5 See, e.g., Hagan, 570 F.3d at 156 (“If a plaintiff desires to

join with other prisoners, he could face the prospect of being responsible for the

strikes of other.”). That also means that each Plaintiff who signs the complaint

takes the risk under Rule 11 that they will be held accountable for their Co-

Plaintiffs’ potentially sanctionable claims.

      The Clerk of Court is directed to send Plaintiff Morgan a copy of this

Court’s civil rights complaint form to cure this deficiency.         The re-filed

complaint must contain an original signature from each Plaintiff.

II.   Time limit for curing deficiencies and to drop out of the case.

      Plaintiffs are ordered to cure the deficiencies designated above within

twenty-one days of this Court’s Order, or by June 26, 2020. Failure to fully

comply with this Order may result in the dismissal of this action. Any Plaintiff

who desires to discontinue his participation in this joint action may so notify

the Court in writing by this same date, without incurring any costs or fees.




5      As explained in Boriboune, section 1915(g) “limits to three the number
of IFP complaints or appeals that were dismissed on the grounds that it is
frivolous, malicious, or fails to state a claim upon which relief may be granted.”
391 F.3d at 855 (internal quotation marks omitted). “This language refers to
the complaint or appeal as a whole; thus when any claim in a complaint or
appeal is frivolous, malicious, or fails to state a claim upon which relief may be
granted, all plaintiffs incur strikes.” Id. (internal quotation marks omitted).

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      If Plaintiffs desire to continue this litigation as a group, any complaint,

motion, or other document filed on behalf of multiple Plaintiffs must be signed

by each Plaintiff. Plaintiffs are warned that the Court will strike any future

group motion or pleadings that do not comply with this requirement.

      The Clerk of Court is directed to send a copy of this Order to each

Plaintiff.

      IT IS SO ORDERED this 5th day of June, 2020.




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